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 1   LAW OFFICE OF WAYNE A. SILVER
     Wayne A. Silver (108135)
 2
     643 Bair Island Road, Suite 403
 3   Redwood City, CA 94063
     Phone: (650) 282-5970
 4   Fax: (650) 282-5980
     Email: ws@waynesilverlaw.com
 5
     (Admitted pro hac vice)
 6
     LAW OFFICES OF AMY N. TIRRE
 7   Amy N. Tirre, Esq. (NV 6523)
 8   3715 Lakeside Dr., Suite “A”
     Reno, NV 89509
 9   Email: amy@amytirrelaw.com
     Tel. (775) 828-0909
10   Fax. (775) 828-0914
11   Attorneys for Creditor and Interested Party,
     KENMARK VENTURES, LLC
12
                                 UNITED STATES BANKRUPTCY COURT
13
                                           DISTRICT OF NEVADA
14
15   In re:                                         Case No. BK-N-14-50333-GS
16                                                  Case No. BK-N-14-50331-GS
     ANTHONY THOMAS and WENDI
     THOMAS,                                        Chapter 7
17
     AT EMERALD, LLC,                               [Jointly Administered]
18
                     Debtors.
                                                       Date: September 13, 2019
19
                                                      Time: 9:30 a.m.
20                                                    Court: Clifton Young Federal Building
                                                             300 Booth Street
21                                                           Reno, Nevada 89509
22                                                           Hon. Gary Spraker

23                                                  KENMARK VENTURES LLC JOUNDER IN
                                                    TRUSTEE’S OPPOSITION TO DEBTORS’
24                                                  MOTION TO VACATE ORDER VOID ON ITS
25                                                  FACE

26             KENMARK VENTURES, LLC (“Kenmark”) joins in the Chapter 7 Trustee’s Opposition

27   (“Opposition”) to Debtor Anthony Thomas (“Debtor”) Motion to Vacate Order Void on Its Face (“Rule

28   60(b)(4) Motion”), and respectfully states:

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 1           I.      Introduction
 2           Kenmark is a creditor and interested party in the above-captioned bankruptcy cases by virtue of
 3   a final $4.5 million dollar judgment in Santa Clara Superior Court, Case No. 108CV130667 (the
 4   “Judgment”). The Judgment was determined to be non-dischargeable after a trial in this Court under 11
 5   U.S.C. §523(a)(2)(A)1 for fraud – intentional misrepresentation and concealment.2
 6           II.     Debtor Has Not Shown Prejudice from the Bankruptcy Court’s Denial of His
 7   Request for a Continuance
 8           In addition to the arguments offered in the Opposition, Kenmark contends that proof of
 9   prejudice is a necessary element for a denial of procedural due process claim.3 Godoy v. Spearman, 834
10   F.3d 1078, 1092-93 (9th Cir. 2015), Burkett v. Cunningham, 826 F.2d 1208, 1221 (3d Cir. 1987), cited
11   in Parcel Consultants (see fn.3, below) The relevant inquiry is whether courts can be confident in the
12   reliability of prior proceedings when there has been a procedural defect. See Lane Hollow Coal Co. v.
13   Dir., Office of Workers' Compensation Programs, 137 F.3d 799, 808 (4th Cir. 1998) (considering
14   "fairness of the trial and its reliability as an accurate indicator of guilt"); see also Rose v. Clark, 478
15   U.S. 570, 577-78, 106 S. Ct. 3101, 92 L. Ed. 2d 460 (1986) (asking whether adjudication in the
16   criminal context without procedural protections can "reliably serve its function as a vehicle for
17   determination of a case).
18
19
     1
20     Further references to Title 11 of the U.S. Code are referred to as “Code §.”
     2
       Both the Bankruptcy Appellate Panel and Ninth Circuit affirmed in unpublished opinions, and the
21   Debtor petitioned the U.S. Supreme Court for certiorari, which is pending.
     3
22     See, In re New Concept Housing, Inc., 951 F.2d 932, 939 (8th Cir. 1991) ("New Concept Housing")
     (ruling that failure to give the debtor notice of a hearing on the approval of a settlement violated two of
23   the Federal Rules of Bankruptcy Procedure, but (rejecting the views of the dissenter that the failure to
     provide notice of the hearing resulted in a denial of due process that could not be subject to harmless
24
     error analysis) that "the violation of these rules constituted harmless error, because the Debtor's
25   presence at the hearing would not have changed its outcome. The Debtor had neither a legal nor factual
     basis for establishing that the settlement was unreasonable."). See also In re Parcel Consultants, Inc.,
26   58 Fed. Appx. 946, 951 (3d Cir. 2003) (unpublished) ("Parcel Consultants") ("Proof of prejudice is a
27   necessary element of a due process claim."); Cedar Bluff Broad., Inc. v. Rasnake, 940 F.2d 651 (Table)
     [published in full-text format at 1991 U.S. App. LEXIS 17220, at *7], 1991 WL 141035, at *2 (4th Cir.
28   Aug. 1, 1991) (unpublished) (creditor complaining of notice deficiency failed to show, among other
     things, "that it was prejudiced by the lack of notice to general creditors").
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 1            In considering reliability of the Bankruptcy Court’s decision, "[t]he entire record must be
 2   considered and the probable effect of the error determined in the light of all the evidence." 11 Charles
 3   Alan Wright, Arthur R. Miller, et al., Federal Practice & Procedure § 2883 (3d ed. 2016) [hereinafter
 4   "Wright & Miller"]; see Matusick v. Erie Cty. Water Auth., 757 F.3d 31, 50-51 (2d Cir. 2014). "[I]f [the
 5   court] cannot say, with fair assurance, after pondering all that happened without stripping the erroneous
 6   action from the whole, that the judgment was not substantially swayed by the error," then it must find a
 7   procedural due process violation. Kotteakos v. United States, 328 U.S. 750, 765, 66 S. Ct. 1239, 90 L.
 8   Ed. 1557 (1946), cited in Elliott v. GM LLC (In re Motors Liquidation Co.), 829 F.3d 135, 161-63 (2d
 9   Cir. 2016)
10            The record in the Debtor’s Chapter 11 Bankruptcy Case as detailed in the Trustee’s Opposition
11   makes clear a two (2) week continuance to allow the Debtor to try and find counsel would not have
12   changed the outcome and therefore did not prejudice the Debtor. The Thomas Emerald was uninsured,
13   and there was evidence in the record the Debtor was engaged in self-dealing, failed to comply with
14   Bankruptcy Court orders, retained undisclosed attorneys, was not capable of handling international
15   financial transactions, failed to conduct any due diligence on the buyer of the Thomas Emerald, and
16   was untrustworthy. (Motion, Transcript at pp.10:22 – 18:2)4 A two (2) week continuance for the
17   Debtor to try and find an attorney would not have made a bit of difference.
18             III.   Conclusion
19            The Debtor had sufficient notice his counsel was moving to withdraw and there was a hearing
20   on motions to appoint a Chapter 11 trustee and convert. The Debtor appeared at the hearings, and was
21   allowed to argue. Moreover, the Bankruptcy Court gave the Debtor the opportunity to dismiss the
22   Chapter 11, and the Debtor declined. (Rule 60(b)(4) Motion, Transcript at pp.32:12 – 16) Under these
23   circumstances the denial of the Debtor’s request for a continuance was harmless error, if it was error at
24   all. It does not rise to the level of a denial of procedural due process, the Bankruptcy Court’s decision
25   was reliable, and the Debtor’s Rule 60(b)(4) Motion should therefore be denied.
26            Dated: August 9, 2019                                        /s/ Wayne A. Silver
                                                                           Wayne A. Silver, attorney for
27
                                                                           KENMARK VENTURES, LLC
28
     4
         Page numbers reference the ECF filing page.
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 1                                       CERTIFICATE OF SERVICE
 2          I served the foregoing KENMARK VENTURES LLC JOUNDER IN TRUSTEE’S
 3   OPPOSITION TO DEBTORS’ MOTION TO VACATE ORDER VOID ON ITS FACE by the
 4   following means on August 9, 2019 to the persons listed below:
 5    XX    Electronic mail, by transmitting a true copy thereof to the following:
 6                   Name                      Email Address
 7           Anthony Thomas          Atemerald2@gmail.com

 8   XX    Regular mail: Service of this document was made on August 9, 2019 by regular, first class

 9   United States mail, postage fully pre-paid, addressed to:

10          Anthony Thomas
            7725 Peavine Peak Court
11          Reno, NV 89523
12          I declare under penalty of perjury that the foregoing is true and correct. Signed this 9th day of
13   August, 2019 at Henderson, Nevada.
                                                          /s/ Wayne A. Silver
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                                                          Wayne A. Silver
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